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                                                                                                            EXHIBIT
TPS-West, LLC
Certified Public Accountants
                                                                                                               3
12837 Louetta Rd.,Suite 201
Cypress, TX 77429



Invoice submitted to:
Dongtai Investment Group LLC
c/o Ron Sommers, Receiver
2800 Post Oak Blvd.
61st Floor
Houston, TX 77056



June 8, 2023


Invoice #3759

         Professional Services

                                                                                                         Hrs/Rate       Amount

         Federal Income Taxes

 3/3/2023 RBF    Telephone call with R. Sommers regarding the status of the receivership in relation        0.20        $50.00
                 to tax returns that will be required for years 2022 and 2023.                           $250.00/hr
         RBF     Email correspondence with R. Sommers' office regarding financial records needed to         0.60       $150.00
                 complete the 2022 federal income tax return.                                            $250.00/hr
3/10/2023 RBF    Prepare IRS tax return filing instruction letter for 2022 Form 1065 income tax             0.20        $50.00
                 package.                                                                                $250.00/hr
         RBF     Prepare Receiver Tax Statement to accompany 2022 Form 1065 income tax return.              0.20        $50.00
                                                                                                         $250.00/hr
         RBF     Prepare draft of 2022 Form 1065 income tax return for review.                              0.40       $100.00
                                                                                                         $250.00/hr
         RBF     Analysis and preparation of tax data for use in electronic tax program for 2022 Form       0.60       $150.00
                 1065 income tax return.                                                                 $250.00/hr
         RBF     Prepare tax workpapers to support 2022 Form 1065 income tax return.                        0.60       $150.00
                                                                                                         $250.00/hr
         RBF     Prepare working trial balance for 2022 Form 1065 income tax return.                        0.80       $200.00
                                                                                                         $250.00/hr
         RBF     Analysis and preparation of tax data for use in electronic tax program for 2022 Form       0.20        $50.00
                 8804.                                                                                   $250.00/hr
         RBF     Prepare filing instruction letter for 2022 Forms 8805 package.                             0.20        $50.00
                                                                                                         $250.00/hr
         RBF     Prepare draft of 2022 Form 8804 for review.                                                0.20        $50.00
                                                                                                         $250.00/hr
         RBF     Prepare draft of 2022 Forms 8805 for review.                                               0.20        $50.00
                                                                                                         $250.00/hr
         RBF     Analysis and preparation of tax data for use in electronic tax program for 2022 Forms      0.40       $100.00
                 8805.                                                                                   $250.00/hr
         RBF     Prepare IRS filing instruction letter for 2022 Form 8804 package.                          0.20        $50.00
                                                                                                         $250.00/hr
3/13/2023 NH     Prepare and e-file 2022 Form 7004; federal income tax extension.                           0.20        $31.00
                                                                                                         $155.00/hr
3/15/2023 RPA    Review of 2022 federal tax returns and associated working papers. Review of Forms          3.80      $1,140.00
                 8804 and 8805 for foreign withholding information.                                      $300.00/hr
3/20/2023 RPA    Receive 2022 Form 8879 and e-file the returns.                                             0.30        $90.00
                                                                                                         $300.00/hr
3/30/2023 RPA    Discuss notice received from Coast Professional (on behalf of the IRS) with R.             0.40       $120.00
                 Sommers over the phone. Determine that the bar date may serve as evidence that          $300.00/hr
                 the amount should be abated entirely, and plan on presenting this upon
                 communication with the IRS.
3/31/2023 RPA    Phone call to IRS regarding 2017-2019 and 2021 tax penalties for late filing. Agent        2.40       $720.00
                 Wellman advised that first time abatement was available for one year (2017) and         $300.00/hr
                 applied the relief over the phone. For the remaining years agent advised to file
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                                                                                                             Hrs/Rate       Amount

                reasonable cause abatement requests. 2021 has already been filed and received,
                so no action needed. Discussed employment tax return as well, and determined a
                final Form 941 and 940 are required.
4/10/2023 RPA   Received IRS letter from R. Sommers regarding foreign reporting forms; make note                0.40       $120.00
                to call IRS regarding this filing; respond to R. Sommers regarding said note.                $300.00/hr
4/17/2023 RPA   Receive and analyze letter stating the 2017 penalties have been abated                          1.30       $390.00
                successfully. Relay message to R. Sommers for continuation of previously laid out            $300.00/hr
                plan. Called IRS to obtain exact amount remaining, and informed Ron to pay
                remaining penalties and send copies of the checks to me for use in penalty
                abatement request packages.
4/21/2023 RPA   Email R. Sommers to obtain copy of the check for penalty payment of 2018 and 2019               0.20        $60.00
                late filing.                                                                                 $300.00/hr
         RPA    Phone call to IRS regarding notice number CP282 received April 10th. Determined                 1.20       $360.00
                that the Forms 8805 and 8804 in questions had not been received as they were filed           $300.00/hr
                via mail. There was no further action needed.
4/24/2023 RPA   Preparation of letter to attempt reasonable cause abatement for 2018 and 2019                   0.80       $240.00
                penalties paid on April 20th.                                                                $300.00/hr
4/25/2023 NH    Forward IRS Form 843 to receiver for approval and signature.                                    0.10        $15.50
                                                                                                             $155.00/hr
         RPA    Complete package for mailing penalty abatement request to IRS regarding 2018 and                0.40       $120.00
                2019 late filing penalty removal.                                                            $300.00/hr
         RPA    Complete package for mailing 2023 final payroll tax returns to end the filing                   0.40       $120.00
                obligation.                                                                                  $300.00/hr
 5/3/2023 NH    Save signed Form 843.                                                                           0.10        $15.50
                                                                                                             $155.00/hr
         RPA    Analyze signed Form 843 to be filed with IRS for penalty abatement.                             0.10        $30.00
                                                                                                             $300.00/hr
 5/4/2023 NH    Scan/save IRS Form 843 packet to be mailed via CMRRR; go to the post office to                  0.50        $77.50
                mail same.                                                                                   $155.00/hr
 5/9/2023 RPA   Confirm filing of penalty abatement package.                                                    0.30        $90.00
                                                                                                             $300.00/hr
5/22/2023 RPA   Receive and analyze the IRS notice regarding 2017 penalty abatement. IRS has                    0.30        $90.00
                abated this penalty.                                                                         $300.00/hr
5/23/2023 NH    Scan/save certified mail delivery confirmation; forward same to the Receiver for his            0.20        $31.00
                file.                                                                                        $155.00/hr

         SUBTOTAL:                                                                                       [     18.40      $5,110.50]

         General Accounting Consulting Services

1/25/2023 JLC   Receive email from P. Buenano from R. Sommers Office RAIVS request on Dongtai                   0.20        $56.00
                from IRS.                                                                                    $280.00/hr
 3/3/2023 WW    Review email questions from attorney M. Rizzo about the ending of the receivership              0.30       $109.50
                and termination of the entity with the State. Review our files and reply to him about        $365.00/hr
                same, laying out the time table. Advise him that R. Fronk in our office can do all of
                this for him and his office.

         SUBTOTAL:                                                                                       [       0.50      $165.50]

         Payroll , Wage Reporting or Contract Labor Reporting

 2/1/2023 RPA   Receipt of RAIVS transcript rejection for 2022, correspond with R. Sommers via                  0.30        $90.00
                phone call regarding the implications as we were able to acquire the transcripts             $300.00/hr
                already through IRS E Services.
 4/3/2023 NH    Email correspondence re: 2023 payroll reporting needed.                                         0.10        $15.50
                                                                                                             $155.00/hr
4/18/2023 NH    Prepare IRS Forms 941 (2023 1st Quarter) and 940 (2023).                                        0.50        $77.50
                                                                                                             $155.00/hr
4/21/2023 RPA   Review payroll Forms 940 and 941 for 2023 to close out payroll tax filing obligations.          1.20       $360.00
                                                                                                             $300.00/hr
4/24/2023 NH    Finalize IRS Form 941 for 2023 Q1 re: statement to be attached.                                 0.40        $62.00
                                                                                                             $155.00/hr
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                                                                                                                   Hrs/Rate            Amount

   4/25/2023 NH       Scan/save final copies of 2023 Form 940 and 2023 941 Q1 packets; go to the post                  0.40            $62.00
                      office to mail same via CMRRR.                                                                $155.00/hr
   5/11/2023 NH       Received CMRRR delivery confirmations in the mail for 2023 Form 940 and 941 Q1;                  0.20            $31.00
                      copy the Receiver and update file on same.                                                    $155.00/hr

             SUBTOTAL:                                                                                         [       3.10           $698.00]

             State Tax Reporting

   3/10/2023 RBF      Prepare Texas State Comptroller tax report filing instruction letter for Report Year             0.20            $50.00
                      2023 Texas Franchise Tax Report package.                                                      $250.00/hr
             RBF      Prepare draft of Report Year 2023 Texas Franchise Tax Report for review.                         0.20            $50.00
                                                                                                                    $250.00/hr
             RBF      Analysis and preparation of tax data for use in electronic tax program for Report Year           0.30            $75.00
                      2023 Texas Franchise Tax Report.                                                              $250.00/hr

             SUBTOTAL:                                                                                         [       0.70           $175.00]

             For professional services rendered                                                                       22.70          $6,149.00

             Additional Charges :

             Other Expenses

   12/6/2022 RBF      Texas Secretary of State Service Fee for Reinstatement.                                                           $2.03

             SUBTOTAL:                                                                                                           [      $2.03]

             Postage

   4/25/2023 NH       Mail 2023 Forms 940 and 941 Q1 via CMRRR.                                                                        $17.76
    5/4/2023 NH       Mail Form 843 packet to the IRS via CMRRR.                                                                        $9.72

             SUBTOTAL:                                                                                                           [     $27.48]

             Total costs                                                                                                               $29.51


             Total amount of this bill                                                                                               $6,178.51




             Balance due                                                                                                             $6,178.51




                                                             User Summary
Name                                                                                                     Hours        Rate             Amount
James L. Clarke                                                                                           0.20     $280.00              $56.00
Natalie S. Hinson                                                                                         2.70     $155.00             $418.50
Rhonda B. Fronk                                                                                           5.70     $250.00           $1,425.00
Richard P. Anderson                                                                                      13.80     $300.00           $4,140.00
William G. West                                                                                           0.30     $365.00             $109.50
